  4:05-cr-03029-DLP   Doc # 93     Filed: 01/03/07    Page 1 of 1 - Page ID # 300



                IN THE UNITED STATES DISTRICT COURT
                    FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,             )
                                      )
                Plaintiff,            )
                                      )                   4:05CR3029
          v.                          )
                                      )              MEMORANDUM AND ORDER
MICHAEL J. CURRY,                     )
                                      )
                Defendant.            )
                                      )




     The U.S. Probation Office has requested that the defendant’s
probation be terminated early.          The government opposed the same
request back in October.         I believe that even though the
defendant may be an appropriate candidate for early termination
of probation in other respects, to do so now would go against the
plea agreement, would also go against the sentencing
recommendation of the U.S. Probation Office, and would permit the
defendant to engage in hunting, one of the principal reasons for
the length of the probation sentence.


     IT THEREFORE HEREBY IS ORDERED,

     The letter-request of the U.S. Probation Office to terminate
the defendant’s probation early, considered as a motion, is
denied.

     DATED this 3rd day of January, 2007.

                                     BY THE COURT:


                                     s/   David L. Piester
                                     David L. Piester
                                     United States Magistrate Judge
